                        Case 2:02-cr-00032-AAA Document 62 Filed 05/18/05 Page 1 of 4
AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations
         Sheet I
                                                                                                                                FILED
                                                                                                                           U.S . D1ST COURT
                                      United States District Court                                                         BRUNSWICK DIV.
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                          BRUNSWICK DIVISION                                            1005 MAY 18 A11 :40
          UNITED            STATES            OF     AMERICA JUDGMENT IN A CRIMIr "SE
                             V.                      (For Revocation of Probation or Supervised ~Retea1e



          Clifton Bernard Jones                                                      Case Number :          CR202-00032-001

                                                                                     USM Number:             11279-021

                                                                                     John Albert Dow, IlI
                                                                                     Defendant's Attorney
THE DEFENDANT :
[X] admitted guilt to violation of a mandatory condition of the term of supervision .
[ ] was found in violation of condition ( s) _ after denial of guilt .


The defendant is adjudicated guilty of this violation:

  Violation Number Nature of Violation                                                                                   Violation Ended

            1 The defendant failed to refrain from unlawful use of a controlled March 30, 2005
                      substance (mandatory condition) .

        The defendant is sentenced as provided in pages 2 through 4 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .


[ ] The defendant has not violated condition(s)- and is discharged as to such violation(s) condition .


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .


Defendant's Soc . Sec . No :       XXX-XX-XXXX

Defendant's Date of Birth :        June            11,            1976     May          9,       2005

                                                                                             Date of Imposition of Judgment



Defendant' s Residence Address :
622 Livingston Court                                                                         Signature of Judge

Hinesville , Georgia 31313

                                                                                             Judge, U .S. District Court
Defendant's Mailing Address :
Same                                                                                         Name and Title of Judge

                                                                                                 E- I k,-0!2
                                                                                             Date
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AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations :   Judgment-Page              2     of       4
        Sheet 2 - lmnrisonment

DEFENDANT : Clifton Bernard Jones
CASE NUMBER: CR202-00032-001
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
         for a total term of: 3 months .

         The Court makes the following recommendations to the Bureau of Prisons :


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district,

         [ ]at-(            ] a .m. [ ] p.m . on
         [ ] as notified by the United States Marshal .


[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

         [ ] before 2 p .m. on
         [ ] as notified by the United States Marshal .
         [ ] as notified by the Probation or Pretrial Services Office.
                                                                    RETURN
         I have executed this judgment as follows :




         Defendant delivered                              on        to

at with a certified copy of this judgment .




                                                                                    United States Marshal




                                                                                 Deputy United States Marshal
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AO 245D (Rev 12 /03) Judgment in a Criminal Case for Revocations :                                                           Judgment -Page 3 of 4
        Sheet 5 - Criminal Monetary Penalties

DEFENDANT : Clifton Bernard Jones
CASE NUMBER : CR202-00032-001
                                                 CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                                                                Assessment Fine Restitution

 Totals:                          $1,800

[ ] The determination of restitution is deferred until _. An Amended Judgment in a Criminal Case (AO 245C) will be entered after
         such a determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

         If the defendant makes a partial payment , each payee shall receive an approximately proportioned payment , unless specified
         otherwise in the priority order or percentage payment column below . However , pursuant to 18 U .S .C . § 3664( i), all nonfederal
         victims must be paid before the United States is paid .



             Name of Payee Total Loss* Restitution Ordered Priority or Percentage



                 Totals:


          Restitution amount ordered pursuant to plea agreement S

          The defendant must pay interest on restitution and a fme of more than $2,500,,unless the restitution or fine is paid in full before
          the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default pursuant to 18 U .S .C . § 3612(g) .

[ ] The court determined that the defendant does not have the ability to pay interest and it is ordered that :

          [ ] The interest requirement is waived for the [ ] fme [ ] restitution .
          [ ] The interest requirement for the [ ] fme [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996 .
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AO 245D (Rev 12/03) Judgment in a Criminal Case for Revocations :                                                              Judgment- Page 4 of 4
        Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Clifton Bernard Jones
CASE NUMBER : CR202-00032-001
                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant ' s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $             1,800 due immediately .

           [ ] not later than _ ; or
           [ ] in accordance with [ ] C , [ ] D, [ ] E, or [ ] F below ; or

B [ ] Payment to begin immediately (maybe combined with [ ] C, [ ] D, or [ ] F below) ; or

C [ ] Payment in equal _ (e .g., weekly, monthly, quarterly) installments of Lover a period of_ ( e .g ., months or years ), to commence
        _ (e .g ., 30 or 60 days ) after the date of this judgment ; or

D [ ] Payment in equal _ ( e .g ., weekly, monthly, quarterly) installments of $ over a period of _ ( e .g ., months or years), to
       commence -(e .g., 30 or 60 days) after release from imprisonment to a term of supervision ; or

E [ ] Payment during the term of supervised release will commence within _ ( eg ., 30 or 60 days ) after release from imprisonment .
        The court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; or

F [ ] Special instructions regarding the payment of criminal monetary penalties :



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment . All criminal monetary penalties , except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .

          Joint and Several
             Defendant and Co-Defendant Names and Case Numbers ( including defendant number ), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate :



          The defendant shall pay the cost of prosecution .

          The defendant shall pay the following court cost(s) :


[ ] The defendant shall forfeit the defendant's interest in the following property to the United States :



Payments shall be applied in the following order : ( 1) assessment; (2) restitution principal ; (3) restitution interest ; (4) fme principal ; (5)
fme interest ; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs .
